       Case 4:12-cr-00014-LPR         Document 671        Filed 12/22/14     Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                  NO. 4:12CR00014-12-SWW

ANTHONY HILL

                                            ORDER

       Defendant’s Motion for Two Point Reduction (Doc. No. 658), based on Sentencing

Guideline Amendment 782, is DENIED.

       At sentencing on December 1, 2006, Defendant had a total offense level of 29; criminal

history score of V; and guideline range of 140-175 months. Defendant was sentenced to 120

months based on a departure by the Court. On December 18, 2014, Defendant’s sentence was

reduced by 30% for reasons unrelated to Amendment 782.

       Under the new guidelines, Defendant’s total offense level is 27 and the new guideline

range is 120-150 months. Since the original 120-month sentence was based on a departure by

the Court, Defendant is entitled to only 30% off the new low end of the guideline range.

However, the new low end is 120 months (the same as his original sentence), so Amendment 782

does not result in a reduction. Defendant’s sentence remains 84 months.

       IT IS SO ORDERED this 22nd day of December, 2014.

                                                    /s/Susan Webber Wright
                                                    UNITED STATES DISTRICT JUDGE
